Case 1:14-cv-23204-JLK Document 135 Entered on FLSD Docket 05/17/2017 Page 1 of 13



                                                UNITED STATES DISTRICT COURT
                                                SOUTHERN DISTRICT OF FLORIDA

                                                CASE NO.: 14-23204-Civ-KING
                                                MAGISTRATE JUDGE P.A. WHITE

   NAJIB MALIK,

         Plaintiff,

   vs.

   WEXFORD HEALTH, et al.,

         Defendants.
                                      /


                            REPORT OF MAGISTRATE JUDGE RE
                            DEFENDANTS' MOTION TO DISMISS
                                       (DE#125)


                           I.    Introduction and Background


         This Cause is before the Court upon the Defendants' motion to
   dismiss   and     for    sanctions,      based   on   plaintiff's     failure      to
   participate in discovery. (DE#125).


         Briefly,     the       Plaintiff   filed   this   pro   se    civil      rights
   complaint, as amended (DE#83) arising from a claim of deliberate
   indifference to a serious medical need. He sues the following
   Defendants: Dr. Daniel L. Conn, President and Chief Executive
   Officer of Wexford Health Services, Inc., Dr. David J. Reddick, the
   Regional Medical Director, Dr. Seyed Hosseini, the Chief Health
   Officer; together with the following Defendants, all of whom were
   employed at Everglades Correctional Institution (?ECI”): Dr. Dora
   Gaxiola, Dr. Oscar Ortega, ARNP Maria Louissant, and Dr. Carl
   Balmir. With the exception of Dr. Conn, who is sued in his official
   capacity,   all    of    the    remaining   Defendants    are      sued   in    their
Case 1:14-cv-23204-JLK Document 135 Entered on FLSD Docket 05/17/2017 Page 2 of 13



   individual      capacities.       (DE#83:1-2).       After    the   complaint      was
   screened, a Report recommending that the case proceed on claims of
   deliberate indifference to a serious medical and punitive damages,
   was   adopted      by    court    order    entered    on     November     17,   2016.
   (DE#s83,89). Once service was accomplished, Answers were filed by
   the Defendants, and a pretrial scheduling order was entered.
   (DE#s90-94,113-114,115).


         Thereafter, Defendants filed a motion to depose the Plaintiff
   which was granted by court order entered on December 13, 2016.
   (DE#s102,103). On January 4, 2017, Plaintiff objected to the
   court's order allowing Defendants to depose him. (DE#107). The
   court overruled Plaintiff's objections, cautioning Plaintiff that
   his failure to cooperate with discovery, including the taking of
   his   deposition,        may    result    in   the   imposition     of    sanctions,
   including dismissal of this case. (DE#109).


         On   April    3,    2017,    Plaintiff     appeared     for   his    scheduled
   deposition. (DE#125:Ex.A). At that time, when he was given the
   oath, and asked whether he affirmed that his testimony would be the
   ?the whole truth and nothing but the truth,” Plaintiff responded,
   ?I do, I guess.” (Id.:Ex.A:4). When asked to clarify what he meant
   by ?I guess,” Plaintiff responded, ?I mean, I don't know what to
   say, you know, I do or I will tell the truth, I guess.” (Id.).


         During his deposition, Plaintiff acknowledged it was his
   signature on various refusal of medication forms, with the latest
   being January 28, 2014. (Id.:67-68). In fact, when asked if a
   December 7, 2013 form was a refusal of all medical services,
   Plaintiff responded, ?I'm not going to answer no more about this
   refusal,     please.      You     need    to   move    onto    something        else.”


                                              2
Case 1:14-cv-23204-JLK Document 135 Entered on FLSD Docket 05/17/2017 Page 3 of 13



   (Id.:67)(emphasis      added).    Plaintiff     acknowledged       it   was   his
   signature on a January 28, 2014           form, but again would not respond
   to or otherwise answer whether the form was a refusal of an
   increase or change to Plaintiff's hypertension medication, stating
   instead, ?I'm not going to answer that....” (Id.)(emphasis added).
   He was asked to respond to the question two more times, and
   Plaintiff refused to do so. (Id.). He acknowledged that defense
   counsel had     paid for a flight to depose Plaintiff at SRCIA, but
   explained that he had ?been sick for three days, ma'am,” stating he
   had been ?throwing up all night long.” (Id.:69).


         Plaintiff further explained that he was ?burning up with a
   fever” at that moment, stating that he had been at medical at 2:00
   a.m. that day because he could not breathe, but out of respect for
   the defense, he had appeared for his scheduled deposition. (Id.).
   When asked if he could continue with his deposition, Plaintiff
   responded, ?Not really....It's hard for me to breathe right now.
   It's been going on for two days. I'm throwing up as soon as I wake
   up....” (Id.:69-70). Plaintiff further testified that his chest was
   getting ?tighter and tighter.” (Id.:70).


         Although Plaintiff previously stated he had been to sick call
   at 2:00 a.m. that day, he then offered equivocal testimony, stating
   that he was ?supposed to go to sick call today,” but had cancelled
   ?all of that” because of the scheduled deposition. (Id.:70). When
   further questioned in this regard, Plaintiff said, ?I say I wanted
   to   go   to   sick   call.”     (Id.).    In   light   of   the    Plaintiff's
   representations, defense counsel felt uncomfortable with continuing
   the deposition given Plaintiff's medical complaints. (Id.).


         Dr. Albert C. Maier, a Senior Physician with the Florida
   Department of Corrections (?FDOC”) Reception and Medical Center has

                                          3
Case 1:14-cv-23204-JLK Document 135 Entered on FLSD Docket 05/17/2017 Page 4 of 13



   provided an affidavit explaining that his job includes oversight of
   medical services of inmates with the FDOC. (Id.:125-2). Attached to
   his Affidavit are excerpts of medical records from April l3, 2017.
   (Id.). In relevant part, the FDOC Chronological Record of Health
   Care for April 3, 2017 at 0400 hours (4:00 a.m.), just four days
   prior to his scheduled deposition, Nurse B. Bray at Santa Rosa
   Correctional    Institution    Annex       (?SRCIA”)   documented   that   the
   Plaintiff had refused his medication and has been refusing to take
   his morning medications ?off/on.” (DE#125-2). At that time, Nurse
   Bray documented that Plaintiff was complaining of vomiting and
   cramping, but Plaintiff's vital signs were within normal limits
   (?VS-WNL”), and no noted distress. (Id.). However, Plaintiff was
   instructed that if his symptoms worsened, to return to sick call.
   (Id.).


        Medical record excerpts next reveal Plaintiff was seen on
   April 5, 2017 for a follow-up on a diabetic ulcer on Plaintiff's
   left heel. (DE#125-2:8). At that time, it was confirmed that
   Plaintiff had been taking antibiotics for the preceding 10 days,
   but there was no indication of respiratory infections, and his
   temperature was 98 degrees. (Id.). No complaints by Plaintiff
   regarding shortness of breath, vomiting, or fever were reported by
   the SRCIA Nurse, N. Pearce. (Id.).


        One day prior to his deposition, Plaintiff was again seen on
   April 6, 2017 for a laboratory periodic screening of his blood
   glucose and hemoccult test, but Plaintiff refused the hemoccult
   test at that time. (DE#125-2:9). There is nothing in that report to
   indicate that Plaintiff was complaining of suffering from a fever,
   shortness of breath, or vomiting. (Id.).




                                          4
Case 1:14-cv-23204-JLK Document 135 Entered on FLSD Docket 05/17/2017 Page 5 of 13



         On the day of his deposition, April 7, 2017, at 5:00 a.m.,
   Plaintiff    completed     an   Inmate    Sick-Call    Request,    declaring   a
   ?medical emergency,” stating that on April 3, 2017, he was running
   a temperature, had shortness of breath, cold chills, no appetite,
   and was throwing up three to four times a day. (Id.:10). Plaintiff
   further stated that the symptoms had been ongoing for the preceding
   two weeks.1 (Id.). Nurse Pearce evaluated the Plaintiff and found
   his vital signs to be within normal limits, with no signs of a
   temperature. (Id.).


         Also on April 7, 2017, a Florida Department of Corrections,
   Office of Health Services, Vomiting/Diarrhea Protocal Form (DC4-
   683KK) was also completed by N. Pearce, a registered nurse at
   SRCIA, following complaints by Plaintiff that he had been throwing
   up   and   believed   he   needed   his      insulin   adjusted.   (DE#127-1).
   Therein, it was noted that the Plaintiff complained he had been
   vomiting for approximately two weeks, had mid-abdominal pain,
   fever, faintness, and dizziness. (Id.). Upon examination, Nurse
   Pearce noted that Plaintiff's temperature was 98.8 degrees, his
   skin was pink and his pulse regular. (Id.). Nurse Pearce noted
   thereon to schedule an appointment with the clinician because
   Plaintiff believed he needs ?hpH adjusted.” (Id.). Plaintiff was
   advised to eat a regular diet, but to avoid sugary and fruit
   drinks, and instructed on good hand hygiene, and that if the


         1
         However, Plaintiff's March 23, 2017 Chronological Record of
   Health Care reveals he was seen for a follow-up by Dr. G. Ramos at
   SRCIA, for a foot lesion, at which time the doctor noted that
   Plaintiff has had the lesion for about a month, and it was
   affecting his left foot, on the plantar area. (DE#125-2:13).
   Plaintiff was prescribed antibiotics, and Dr. Ramos commented,
   ?consider debridement after oral antibiotic.” (Id.). Nothing in the
   doctor's notes, however, reveals any complaints by Plaintiff that
   he was suffering from nausea, vomiting, fever, dizziness, etc.
   (Id.).

                                            5
Case 1:14-cv-23204-JLK Document 135 Entered on FLSD Docket 05/17/2017 Page 6 of 13



   symptoms return or worsen, to return to medical. (Id.).


         Defendants argue that dismissal is warranted because the
   Plaintiff has impeded their ability to conduct discovery, contrary
   to this court's orders. (DE#125). Plaintiff was ordered to respond
   to the Defendants' motion, and did so providing his pleading for
   mailing to prison authorities on April 24, 2017. (DE#129). That
   pleading, however, is not signed by the Plaintiff under penalty of
   perjury.2 (DE#129:8). In his response, Plaintiff suggests that
   ?hypertension and anxiety” can cause the very symptoms Plaintiff
   was   experiencing    at    the    time   of    his   deposition.       (DE#129:2).
   Plaintiff    suggests      that,    because     he    ?refused    to    answer   one
   question,” defense counsel should not have repeated the same or
   similar    question   again,       because     Plaintiff   felt    he    was   being
   ?bullied” which, in turn, induced ?anxiety,” causing Plaintiff to
   feel nauseous. (Id.:3). He suggests that the defense's actions were
   pre-planned in order to induce Plaintiff's anxiety. (Id.:4). Such
   argument is completely specious and devoid of any basis in fact or
   reality.    Counsel   could       not   have    anticipated      the    Plaintiff's
   responses to the questions posed during the deposition. Plaintiff
   explains he answered the questions posed as he did because he did
   not have counsel there to represent him and he ?didn't understand


         2
         In relevant part, every pleading filed by a pro se litigant
   must be signed by the pro se party personally. See Fed.R.Civ.P.
   11(a). “[T]he requirements of the rules of procedure should be
   liberally construed,” however, and “ ‘mere technicalities' should
   not stand in the way of consideration of a case on the merits.”
   Torres v. Oakland Scavenger Co., 487 U.S. 312, 315, 108 S.Ct. 2405,
   2408, 101 L.Ed.2d 285 (1988). This applies to situations where “a
   litigant files papers in a fashion that is technically at variance
   with the letter of a procedural rule ... [but is nevertheless] the
   functional equivalent of what the rule requires.” Id. at 316-17,
   108 S.Ct. at 2408. Here, as noted previously, it is evident
   Plaintiff has not executed the response nor has he cured the
   defect.

                                             6
Case 1:14-cv-23204-JLK Document 135 Entered on FLSD Docket 05/17/2017 Page 7 of 13



   what he was to say or do.” (Id.:4).


          From   the   foregoing,     Defendants       argue    that    Plaintiff     has
   presented no interest in continuing with the prosecution of the
   instant case, in direct violation of this court's initial orders.
   Alternatively,      Defendants     seek       an   extension    of   the    pretrial
   deadlines so that Plaintiff's deposition can be continued and
   summary judgment motions filed.


                                    II.   Discussion


          First, it is worth mentioning that this case was filed in
   August 2014, and presents a long and torturous procedural history,
   resulting from multiple amended complaints and culminating in the
   Defendants' motion to dismiss. It is now almost three years old.


          Second, it is evident that Plaintiff has not complied with
   this    court's     order   of    instructions.        The     court's     order   of
   instructions (DE#5) to the Plaintiff provides, in pertinent part,
   as follows:


                 11. It is the plaintiff's responsibility to
                 actively   pursue   this   case,   obtain   any
                 essential   discovery,   file   all   necessary
                 pleadings and motions and otherwise comply
                 with all scheduling orders and prepare the
                 case for trial. Failure to do so will probably
                 result in dismissal of the case for lack of
                 prosecution....


   (DE#9-Order of Instructions to Pro Se Civil Rights Litigants). The
   order was sent to the Plaintiff at his address of record in
   September 2014, Everglades Correctional Institution. The Order has
   never been returned to this Court as undeliverable.

                                             7
Case 1:14-cv-23204-JLK Document 135 Entered on FLSD Docket 05/17/2017 Page 8 of 13



        Given the detailed history above, it appears the Plaintiff has
   attempted to derail the Defendants efforts to conduct discovery and
   prepare the case for dispositive resolution. In fact, the evidence
   provided, coupled with Plaintiff's responses to the deposition
   questions clearly reveals that Plaintiff has attempted to hinder
   and/or otherwise impede the discovery process by first objecting to
   even having his deposition taken, as ordered by this court. Then,
   during his deposition, refusing to answer questions posed of him by
   the defense, explaining had been and was physically ill, when
   medical records prove otherwise. As will be recalled, Plaintiff was
   ordered on more than one occasions to actively litigate this
   matter, and was cautioned that failure to do so may result in
   dismissal of this case.


        Federal Rule Civil Procedure 41(b) provides, in pertinent
   part, that "for failure of the plaintiff to prosecute or to comply
   with these rules or any order of court, a defendant may move for a
   dismissal of an action or any claim against the defendant." Martin
   v. Automobili Lamborghini Exclusive, Inc., 307 F.3d 1332, 1335 (11th
   Cir. 2002) (citations omitted). A decision to dismiss for want of
   prosecution rests within the district court's discretion. The
   Eleventh   Circuit   has   commented     that   “[a]   district   court   has
   inherent authority to manage its own docket ‘so as to achieve the
   orderly and expeditious disposition of cases.’” Equity Lifestyle
   Props., Inc. v. Fla. Mowing & Landscape Serv., Inc., 556 F.3d 1232,
   1240 (11th Cir. 2009)(quoting Chambers v. NASCO, Inc., 501 U.S. 32,
   43, 111 S.Ct. 2123, 115 L.Ed.2d 27 (1991)).


        Such authority includes the power to dismiss a case for
   failure to prosecute or for failure to comply with a court order.
   Id. (citing Fed.R.Civ.P. 41(b)). See also Muhammad v. Bethel
   Muhammad, ___ F.3d ___, 2014 WL 1272473, *1 (11th Cir. Mar. 31,

                                        8
Case 1:14-cv-23204-JLK Document 135 Entered on FLSD Docket 05/17/2017 Page 9 of 13



   2014) (unpublished)(citing Gratton v. Great Am. Commc'ns, 178 F.3d
   1373, 1374 (11th Cir. 1999)); Moon v. Newsome, 863 F.2d 835, 837
   (11th Cir. 1989);   Link v. Wabash R. R., 370 U.S. 626, 630, 82 S.Ct.
   1386, 8 L.Ed.2d 734 (1962)(interpreting Rule 41(b) not to restrict
   the court's inherent authority to dismiss sua sponte an action for
   lack of prosecution); Hyler v. Reynolds Metal Co., 434 F.2d 1064,
   1065 (5th Cir. 1970)(“It is well settled that a district court has
   inherent power to dismiss a case for failure to prosecute....”).3


        Rules 37(b) and 41(b) allow the Court to dismiss a plaintiff's
   complaint if a plaintiff has failed to prosecute or failed to
   comply with a Court's order or the Federal Rules. Gratton v. Great
   American Communications, 178 F.3d 1373, 1374 (11th Cir. 1999).
   “Dismissal under [Rule 37 and 41], while an extreme sanction, is
   appropriate where a party engages in a clear pattern of delay or
   willful contempt (contumacious conduct); and the district court
   specifically finds that lesser sanctions would not suffice.” Pippen
   v. Georgia Pacific Gypsum, LLC, 408 Fed.App. 299, 303 (11th             Cir.
   2011)(internal quotations and citation omitted).


        However, the sanction of dismissal, especially with prejudice,
   is considered severe and should be imposed “only in the face of a
   clear record of delay or contumacious conduct by the plaintiff.”
   Durham v. Florida East Coast Ry. Co., 385 F.2d 366, 368 (5th Cir.
   1967). Dismissal is a sanction of last resort, applicable only in
   extreme circumstances, and appropriate only when less drastic
   sanctions would be ineffective. McKelvey v. AT & T Tech., Inc., 789
   F.2d 1518, 1520 (11th Cir. 1986); State Exch. Bank v. Hartline, 693
   F.2d 1350, 1352 (11th Cir. 1982); Martin-Trigona v. Morris, 627 F.2d


        3
          In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981)(en
   banc), the Eleventh Circuit adopted as binding precedent all decisions of the
   former Fifth Circuit handed down prior to October 1, 1981.

                                        9
Case 1:14-cv-23204-JLK Document 135 Entered on FLSD Docket 05/17/2017 Page 10 of 13



   680, 682 (5th Cir. 1980). Dismissal with prejudice has been upheld
   where a plaintiff has repeatedly failed to obey court orders and
   pretrial orders. See Goforth v. Owens, 766 F.2d 1533 (11th Cir.
   1985); Jones v. Graham, 709 F.2d 1457 (11th Cir. 1983); Anthony v.
   Marion County Gen. Hosp., 617 F.2d 1164 (5th Cir. 1980); In re
   Liquid Carbonic Truck Drivers Chem. Poisoning Litig., 580 F.2d 819
   (5th Cir. 1978).


         While it is preferable to forewarn a plaintiff that dismissal
   under Rule      41(b)   is   being    considered,      advance    notice      is    not
   necessary. Link, 370 U.S. at 632, 82 S.Ct. at 1389-90; Martin-
   Trigona, 627 F.2d at 681 n.1. A plaintiff does not have to
   completely abandon prosecution of an action to warrant dismissal;
   dismissal has been upheld even where a plaintiff has conducted
   discovery and participated in hearings. See, e.g., Hartline, supra;
   Lopez v. Arkansas County Indep. Sch. Dist., 570 F.2d 541 (5th Cir.
   1978); Delta Theatres, Inc. v. Paramount Pictures, Inc., 398 F.2d
   323 (5th Cir. 1968). Repeated delays or disregard of court orders
   or deadlines can support dismissal, where the plaintiff acts
   deliberately rather than negligently. McKelvey, 789 F.2d at 1520.


         Also     for   consideration       is   whether    and     to    what   extent
   attorney's fees and costs should be awarded as a sanction for
   Plaintiff's conduct. Defendants seek not only dismissal, but the
   imposition of attorney's fees and costs. Under Rule 37(b) “the
   court must order the disobedient party ... to pay the reasonable
   expenses, including attorney's fees, caused by the failure, unless
   the failure was substantially justified or other circumstances make
   an    award     of    expenses       unjust.”    Fed.R.Civ.P.          37(b)(2)(C).
   “Substantially justified means that reasonable people could differ
   as to the appropriateness of the contested action.” Maddow v.
   Procter    &   Gamble   Co.,     Inc.,    107   F.3d    846,     853    (11th      Cir.

                                            10
Case 1:14-cv-23204-JLK Document 135 Entered on FLSD Docket 05/17/2017 Page 11 of 13



   1997)(citing Pierce v. Underwood, 487 U.S. 552, 565, 108 S.Ct.
   2541, 101 L.Ed.2d 490 (1988)). District courts have “considerable
   discretion in managing discovery and determining that reasonable
   people   could   differ   in   the   appropriateness    of   ...   discovery
   requests.” Neumont v. Fla., 610 F.3d 1249, 1253 (11th Cir. 2010).


         Defendants argue that they have spent time and money flying to
   SRCIA to depose the Plaintiff, but when attempting to do so,
   Plaintiff refused and/or was otherwise noncompliance, refusing to
   answer questions posed to him. Defendants, however, have provided
   no affidavit or invoice stating the actual amount of attorney's
   fees or costs incurred in preparing for the depositions, the travel
   expenses associated therewith, or such other expenses incurred in
   order to enable the court to determine the amount of attorney's
   fees and costs incurred.


         Given   the   detailed   history    noted   above,   the   Undersigned
   recommends that the court dismiss this action under Rule 37 due to
   Plaintiff's dilatory behavior in impeding the defense's ability to
   depose him, and then at his scheduled deposition, failing to answer
   questions, providing equivocal testimony regarding whether he had
   sought medical treatment that day. Moreover, given the excerpts of
   the medical records provided by the defense, it appears that
   Plaintiff's representations regarding his purported illness at or
   before his deposition were, at best, disingenuous and border on the
   perjurious. To the extent the Defendants seek an award of fees and
   costs associated therewith, the Defendants should be ordered to
   file an affidavit and motion setting forth the amount of attorney's
   fees and costs incurred for the district court's consideration.




                                        11
Case 1:14-cv-23204-JLK Document 135 Entered on FLSD Docket 05/17/2017 Page 12 of 13



                               III. Recommendations


          Based upon the foregoing, it is recommended that: (1) the
   Defendants' motion to dismiss (DE#125) be GRANTED; (2) that this
   case be DISMISSED with prejudice for failure to comply with court
   orders pursuant to Rule 37 and Rule 41; (3) that Defendants be
   awarded reasonable attorney's fees and costs, the amounts to be
   determined by the district court upon the filing by Defendants of
   an appropriate motion with supporting affidavit and copies of
   invoice(s); and, (4) that the cases be CLOSED.4


          Objections to this report may be filed with the District Judge
   within fourteen days of receipt of a copy of the report. Failure to
   file    timely    objections     shall    bar    plaintiff   from    a    de   novo
   determination by the district judge of an issue covered in this
   report and shall bar the parties from attacking on appeal factual
   findings accepted or adopted by the district judge except upon
   grounds of       plain   error   or   manifest    injustice.   See       28   U.S.C.
   §636(b)(1); Thomas v. Arn, 474 U.S. 140, 149 (1985); Henley v.
   Johnson, 885 F.2d 790,794 (1989); LoConte v. Dugger, 847 F.2d 745
   (11th Cir. 1988); RTC v. Hallmark Builders, Inc., 996 F.2d 1144,
   1149 (11th Cir. 1993).


          DONE AND ORDERED at Miami, Florida, this 17th day of May, 17,
   2017.




                                                 UNITED STATES MAGISTRATE JUDGE


      Unless the Court specifies otherwise, a dismissal for failure to prosecute
   operates as an adjudication on the merits. See Fed.R.Civ.P. 41(b).

                                            12
Case 1:14-cv-23204-JLK Document 135 Entered on FLSD Docket 05/17/2017 Page 13 of 13



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                                        13
